       Case: 4:22-cv-00683 Doc. #: 1 Filed: 06/28/22 Page: 1 of 8 PageID #: 1




                      IN THE UNITED STATES DISTRICT COURT
                     FOR THE EASTERN DISTRICT OF MISSOURI
                                EASTERN DIVISION


ANTHEA WENG,                                 )
                                             )
            Plaintiff,                       )
                                             )          Civil Action, Case No.: ____________
v.                                           )
                                             )          JURY DEMANDED
THE WASHINGTON UNIVERSITY in                 )
SAINT LOUIS, d/b/a                           )
The Washington University School of Medicine )
                                             )
                                             )
            Defendant.                       )


                 VERIFIED COMPLAINT FOR VIOLATION OF
       THE FAIR LABOR STANDARDS ACT AND MISSOURI OVERTIME LAW


       COMES NOW the Plaintiff, Anthea Weng (hereinafter referred to as “Ms. Weng”), by

and through counsel, and for her Complaint against Defendant, The Washington University in

Saint Louis, d/b/a The Washington University School of Medicine (hereinafter “Defendant”),

states as follows:

                              NATURE OF THE COMPLAINT

       1.      Ms. Weng brings a cause of action under federal law, specifically the Fair Labor

Standards Act (“FLSA”), 29 U.S.C. § 201, et seq.

       2.      Ms. Weng brings a cause of action under Missouri state law, specifically

§290.500 et. seq.

       3.      Ms. Weng brings her action against Defendant, The Washington University for

unpaid overtime compensation and related penalties and damages and for failure to pay her for



                                               1


                                                             Doc ID: 215835d902afccd5992957d4fa08f4328862e436
      Case: 4:22-cv-00683 Doc. #: 1 Filed: 06/28/22 Page: 2 of 8 PageID #: 2




all hours she worked. She alleges, that Defendant failed and refused to pay her overtime pay for

overtime worked and failed and refused to pay her straight time for all hours worked.

       4.      Defendant’s practices are in direct violation of the Fair Labor Standards Act

(“FLSA”), 29 U.S.C. § 201, et seq. and Missouri state law §290.505 Ms. Weng seeks overtime

premiums for all overtime work required, suffered, or permitted by Defendant; straight time

wages for all hours worked and not compensated; liquidated and/or other damages as permitted

by applicable law; and attorney’s fees, costs, and expenses incurred in this action.

       5.      Defendant through Ms. Weng’s supervisor, Mr. Gilbert Gallardo (hereinafter,

“Mr. Gallardo”) forced her to work “off the clock” over forty hours in given workweeks and

thereby to willfully fail and refuse to pay overtime compensation due and owing to Ms. Weng in

violation of the FLSA and the Missouri Overtime Law, and to willfully fail to compensate Ms.

Weng for all hours worked while employed by Defendant.

       6.      Defendant has instituted and carried out an unlawful policy and practice of

refusing to pay, Ms. Weng for all time worked and refusing to pay her overtime for all hours

worked in any given work week over forty, notwithstanding that she is a non-exempt employee

is entitled to overtime pay under the FLSA and Missouri state law.

       7.      From July 1, 2019 through May30, 2020 Ms. Weng worked overtime hours

without proper compensation.

                                            PARTIES

       8.      Ms. Weng is a resident of Chicago, Cook County, Illinois.

       9.      Defendant employed Ms. Weng from July 1, 2019 until May 30, 2020.

       10.      At all relevant times, Ms. Weng was an employee of Defendant for FLSA and

Missouri Overtime Law purposes.



                                                 2


                                                               Doc ID: 215835d902afccd5992957d4fa08f4328862e436
       Case: 4:22-cv-00683 Doc. #: 1 Filed: 06/28/22 Page: 3 of 8 PageID #: 3




        11.     Defendant The Washington University in Saint Louis is an educational institution

corporation organized and chartered under the laws of the State of Missouri with its primary

place of business located in Saint Louis, Missouri and may be served through its registered agent

at One Brookings Drive Campus Box 1058 St. Louis Missouri 63130.

        12.     Defendant is subject to, and a covered employer under, the Missouri wage laws,

RSMo §290.500, et. seq. Further stating, at all times relevant Defendant has been and continues

to be an “employer” within the meaning of the Missouri wage laws, RSMo §290.500(4). At all

relevant times, Defendant has employed, and/or continues to employ, “employee[s],” including

Ms. Weng, within the meaning of the Missouri wage laws, RSMo §290.500(3).

        13.     Defendant is a covered employer under the Fair Labor Standards Act (“FLSA”),

29 U.S.C. §201 et seq. Further Defendant employs more than seven individuals and grosses

annual revenue in excess of $500,000.00

                                  JURISDICTION AND VENUE

        14.     This Court has original federal question jurisdiction pursuant to 28 U.S.C. § 1311

because this case is brought under the Fair Labor Standards Act, 29 U.S.C. § 201, et seq.

        15.     The Eastern District of Missouri, Eastern Division, has personal jurisdiction over

Defendant because it is doing business in Missouri and in this judicial District.

        16.     Venue is proper in this District pursuant to 28 U.S.C. § 1391(b) because a

substantial part of the events giving rise to this claim occurred in this District.

                                   FACTUAL BACKGROUND

        17.     Ms. Weng worked for Defendant from July 1, 2019 until May 30, 2020 in the

position of Research Technologist. Defendant paid her an hourly rate of $14.00.




                                                   3


                                                                 Doc ID: 215835d902afccd5992957d4fa08f4328862e436
      Case: 4:22-cv-00683 Doc. #: 1 Filed: 06/28/22 Page: 4 of 8 PageID #: 4




       18.     Ms. Weng’s supervisor, Mr. Gallardo required her to work after work hours and

on weekends, but forbade her from claiming such hours over forty in such given workweeks on

her timesheets or report such work hours she actually worked to Defendant.

       19.     As a result, Ms. Weng routinely worked more than forty (40) hours in a given

work week.

       20.     Defendant failed to pay Ms. Weng one- and one-half times her regular rate

(overtime compensation) for each hour she worked over forty (40) in certain workweeks.

       21.     As a worker paid by the hour, Ms. Weng was not exempt from overtime and

entitled to overtime premium compensation for all yours over forty she worked in any given

workweek.

       22.     Defendant required Ms. Weng to perform work “off the clock.”

                                            COUNT I

                 VIOLATION OF THE FAIR LABOR STANDARDS ACT

       23.     Ms. Weng, re-alleges and incorporates herein the allegations contained in

Paragraphs 1 through 22 as if they were set forth fully herein.

       24.     Upon information and belief, at all relevant times, Defendant has been, and

continues to be, an “employer” engaged in the interstate “commerce” and/or in the production of

“goods” for “commerce” within the meaning of tshe FLSA, 29 U.S.C. § 203.

       25.     Upon information and belief, at all relevant times, Defendant has employed

and/or continue to employ “employee[s],” including Ms. Weng.

       26.     Upon information and belief, at all relevant times, Defendant has had gross

operating revenues in excess of $500,000.00 (Five Hundred Thousand Dollars).




                                                 4


                                                                  Doc ID: 215835d902afccd5992957d4fa08f4328862e436
      Case: 4:22-cv-00683 Doc. #: 1 Filed: 06/28/22 Page: 5 of 8 PageID #: 5




       27.     The FLSA requires each covered employer, such as Defendant, to compensate all

non-exempt employees for all hours worked at an hourly rate and compensate all non-exempt

employees at a rate of not less than one and one-half her regular rate of pay for work performed

in excess of forty hours in a work week.

       28.     Ms. Weng is not exempt from the right to receive overtime pay or to be paid for

all hours worked under the FLSA. Ms. Weng is entitled to be paid compensation for all hours

worked and are entitled to be paid overtime compensation for all overtime hours worked.

       29.     As a result of Defendant’s failure to compensate Ms. Weng for all hours worked

and to compensate her at a rate of not less than one and one-half times the regular rate of pay for

all work performed in excess of forty hours in a work week, Defendant violated, the FLSA,

including 29 U.S.C. § 207(a)(1) and § 206(a).

       30.     The foregoing conduct, as alleged, constitutes a willful violation of the FLSA

within the meaning of 29 U.S.C. § 255(a). Defendant at all relevant times acted in bad faith

within the meaning of 29. U.S.C. §§216, 260.

       31.     Ms. Weng is entitled to receive her unpaid overtime compensation and liquidated

damages incurred in the last three years, and her reasonable attorneys’ fees and expenses.

                                                COUNT II

              VIOLATION OF THE MISSOURI WAGE LAWS §290.500, ET. SEQ.

       32.     Ms. Weng, re-alleges and incorporates herein the allegations contained in

Paragraphs 1 through 31 as if they were set forth fully herein.

       33.     Defendant required Ms. Weng to “work off-the-clock” in many given workweeks.

       34.     Defendant required Ms. Weng to work over forty hours in many given workweeks

and did not allow her to record such time or upon information and belief Ms. Weng’s supervisor



                                                 5


                                                                  Doc ID: 215835d902afccd5992957d4fa08f4328862e436
       Case: 4:22-cv-00683 Doc. #: 1 Filed: 06/28/22 Page: 6 of 8 PageID #: 6




Mr. Gallardo altered her time entries to reflect that she did not in fact work hours over forth in

certain workweeks.

        35.      This practice sanctioned by Defendant is in violation of RSMo §290.505.

        36.      Since Defendant failed to properly compensate Ms. Weng for overtime

compensation as required by law, she is entitled under the Missouri wage laws to bring this civil

action under RSMo §290.527, she is also entitled to all overtime compensation due her at an

appropriate rate of pay for all overtime hours worked (one-and-a-half times her regular rate)

worked, liquidated damages, and her reasonable attorneys’ fees and expenses pursuant to RSMo

§§290.505, 290.527.

                                       PRAYER FOR RELIEF

        WSHEREFORE, Ms. Weng prays for relief as follows:

        1. An award of money damages for unpaid overtime wages, including liquidated

              damages and penalties in an exact amount to be determined at trial;

        2. Pre-Judgment interest, as provided by law;

        3. Award her costs and expenses of her action incurred herein, including reasonable

              attorneys’ fees, litigation expenses, court costs, and expert fees; and

        4. Any and all such other and further legal and equitable relief as the Court deems

              necessary, just and proper.

                                   DEMAND FOR JURY TRIAL

        Ms. Weng demands a jury trial on all causes of action and claims with respect to which

she has a right to jury trial.



Dated: June 30, 2022                                 Respectfully submitted,



                                                    6


                                                                  Doc ID: 215835d902afccd5992957d4fa08f4328862e436
      Case: 4:22-cv-00683 Doc. #: 1 Filed: 06/28/22 Page: 7 of 8 PageID #: 7




                                                  /s/ Edward J. Rolwes_________________
                                                  Edward J. Rolwes, MO Bar No. 51522
                                                  Alan G. Crone, MO Bar No. 73285
                                                  (Admission application pending)
                                                  THE CRONE LAW FIRM, PLC
                                                  4818 Washington Ave, Suite 107
                                                  Saint Louis, Missouri 63108
                                                  901.519.4676 (voice)
                                                  acrone@cronelawfirmplc.com
                                                  erolwes@cronelawfirmplc.com

                                                  Attorneys for Plaintiff



                           DECLARATION AND VERIFICATION

       I, Anthea Weng, verify and declare under penalty of perjury that the facts stated in the
foregoing Verified Complaint for Violation of the Fair Labor Standards Act and Missouri
Overtime Laws are to the best of my knowledge and belief true, and that this Complaint is not
made out of levity or by collusion with the Defendant, but in sincerity and truth for the causes
mentioned in the Complaint.




                                                     ___________________________________
                                                     Anthea Weng
                                                           06 / 27 / 2022
                                                     Date: ______________________________




                                                 7


                                                               Doc ID: 215835d902afccd5992957d4fa08f4328862e436
             Case: 4:22-cv-00683 Doc. #: 1 Filed: 06/28/22 Page: 8 of 8 PageID #: 8

                                                                                      Audit Trail

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